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 6   Attorneys for
      the United States of America
 7
 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,           )      Case No: 1: 12-cr-00106 LJO/DLB
11                                       )
                       Plaintiff,        )
12                                       )      STIPULATION & ORDER CONTINUING
                                         )      STATUS CONFERENCE AND EXCLUDING
13         v.                            )      TIME UNDER THE SPEEDY TRIAL
                                         )
14                                       )
     ROBERTO OLIVARES, ROJELIO           )
15   MARTIN,                             )
                                         )
16                                       )
                       Defendants.       )
17                                       )
18
19         Defendants ROBERT OLIVARES, by and through his counsel of
20   record Jeff Hammerschmidt, ROJELIO MARTIN, by and through his
21   counsel of record Marshall Hodgkins, and plaintiff the United
22   States of America, by and through its counsel of record, hereby
23   jointly stipulate and respectfully request that the Status
24   Conference scheduled for September 24, 2012, at 1:00 p.m. be
25   continued to November 13, 2012, at 1:00 p.m.
26         The grounds for this stipulation are that a continuance of
27   time through November 13, 2012, is required to provide additional
28

     STIPULATION & [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND EXCLUDING TIME
                                 UNDER THE SPEEDY TRIAL
                                          -1-
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 1   time for effective defense preparations, plea negotiations, and
 2   consideration of a potential plea by the defendants.
 3         The parties agree and stipulate that time should be excluded
 4   in the interests of justice under 18 U.S.C. § 3161(h)(7)(A) and
 5   (7)(B)(i) & (iv), in that the ends of justice served by the
 6   continuance outweigh the interests of the public and the
 7   defendant in a speedy trial.
 8         IT IS SO STIPULATED.
 9
     Dated: September 21, 2012,                 BENJAMIN B. WAGNER
10                                              United States Attorney
11
                                          By: /s/ Stanley A. Boone
12                                            STANLEY A. BOONE
                                              Assistant U.S. Attorney
13
14
15   DATED: September 21, 2012,           By: /s/ E. Marshall Hodgkins
                                              E. MARSHALL HODGKINS
16                                            Attorney for Defendant
                                              ROJELIO MARTIN
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19
     DATED: September 21, 2012,            By: /s/ Jeff Hammerschidt
20                                            JEFF HAMMERSCHMIDT
                                              Attorney for Defendant
21                                            ROBERTO OLIVARES
22         IT IS SO ORDERED.
23         IT IS FURTHER ORDERED that for the reasons stated above the
24   court finds good cause to exclude time under the Speedy Trial Act
25   and time is excluded in the interests of justice under 18 U.S.C.
26   § 3161(h)(7)(A) and (7)(B)(i) & (iv), in that the ends of justice
27   served by the continuance outweigh the interests of the public
28

     STIPULATION & [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND EXCLUDING TIME
                                 UNDER THE SPEEDY TRIAL
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 1   and the defendant in a speedy trial from September 24, 2012 to
 2   and including November 13, 2012.
 3
          IT IS SO ORDERED.
 4
        Dated:   September 21, 2012                  /s/ Dennis L. Beck
 5   3b142a                                 UNITED STATES MAGISTRATE JUDGE
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     STIPULATION & [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND EXCLUDING TIME
                                 UNDER THE SPEEDY TRIAL
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